                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


SCOTT WEAVER, Individually and
on Behalf of All Others Similarly Situated,

               Plaintiff,

       v.                                                           Case No. 2:18-cv-1996-JPS

CHAMPION PETFOODS USA, INC. and
CHAMPION PETFOODS LP,

               Defendants.


         DEFENDANTS CHAMPION PETFOODS USA INC.’S AND
 CHAMPION PETFOODS LP’S RENEWED MOTION FOR SUMMARY JUDGMENT
           AS TO PLAINTIFF’S THIRD AMENDED COMPLAINT



       Pursuant to Fed. R. Civ. P. 56 and Civil L. R. 7 and 56, Defendant Champion Petfoods

USA, Inc. and Champion Petfoods LP (collectively, “Champion”) hereby moves this Court for

summary judgment, because the record in this matter demonstrates that there are no genuine

disputes as to any material fact, and thus Champion is entitled to judgment as a matter of law. The

bases for this motion are set forth in the accompanying Defendants Champion Petfoods USA Inc.’s

and Champion Petfood LP’s Memorandum of Law in Support of their Renewed Motion for

Summary Judgment as to Plaintiff’s Third Amended Complaint, Champion’s Statement of

Undisputed Material Facts, the Declarations of Gayan Hettiarachchi, Christopher Milam, Chinedu

Ogbonna, Richard Raposo, and Dr. Robert H. Poppenga, DVM, PhD, DABVT and the exhibits

thereof, the deposition testimony of Plaintiff Scott Weaver, Sean Callan, Kenneth Gilmurray, Erik

Flakstad, Dr. Jon Krosnick, Travis Mays, Peter Muhlenfeld, Dr. Gary Pusillo, Jim Wagner, Colin




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Weir, and the parties’ Joint Stipulated Statement of Material Facts, as well as the file and record in

this case and any additional argument the Court may consider.


Dated: February 18, 2020                              Respectfully submitted,

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